 

 

Case 4:15-cv-00054-AWA-RJK Document 196-7 Filed 03/26/19 Page 1 of 22 PagelD# 2624

1 Coat agape ete

 

 

 

 

 

 

 

 

 

 

 

 

SUP AE BSS

 

 

 

— “OLE Sa aE

CORRS TUFF

 

Pit? de

 

 

 

OL

 

WO

 

| MHODWT UAASNVULL UNY TYMVSCHIIM “SONVULNG

 

 

 

 

qaLovami
CULIVaEY _

NV¥ISVOOVS

 

TVILNAGIINOOD

sjooyIg syQng AjunoD 1a}saIn0][45

 

 

 
 

Case 4:15-cv-00054-AWA-RJK Document 196-7 Filed 03/26/19 Page 2 of 22 PagelD# 2625

LIIT-d&SOD

pRepdn sg] ajisgem joouss ed ABSAIN]®) SULUSTA "{ABPLIY Uo. pasojs} eps
joouas YBI smsaone[ “prog *Lsndny pua‘pur J AM upsaq [TM Jooups jaunung “ur

 

   

{pasopua Ly

O

<

SRA Z DPE sles suoneuojut
eZ Pele OF LUE OO {sre sanoY Jeununs
inf $1 aulypeap UORENsTsal [OOYyIs AaUALINS

Za Ca 0NUANINGOE SSVTS TOOHOS AaRAANS

~ GHCNAWINOOTE TOOHOS WaINDS

A yooups plog ~ e102 otp Jo Pied yoda jeury op st STL

OO0'G PO seouesqy Ape 7210],

seanrrveeennccmeieitblti,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ca LovadTa

Q § SACGNAM LivAMa IDS HLXVE DIA

6 § 5 ACINEM LIVAM 6 HSTISNG OIA

g S 5 ACGNM LEVAM TQRIGM OIA

a & S ACINGM “ELVAM TVaSaOTY OTA

6 : S AGING “LEVAM Sod VIA

a € S ACINAM LEVAM 6 HLTVaH VIA

0 CHL OvaTa® SHS ‘divis ONNOGNOn
q PESO} AVE SUE t FO { =O ; is | 10 aalpea asino} J

2 * -_
sWICGIStuI0 :
cnc (CS CALIVOTE_!
-epEL
Spe SN ~“CaLovaaa

 

$0) :ponieg Suniode SX
Fl0Z ‘LZ eunf uo paymg pies Hoday
O 19082 WA ‘JeIsemnojD
~ SUE] UIOUS 0899
© jooups Yet Jaysaon])
AS prep yoday

 

TVILNAGLINOD sjooyps oygn,g Aun} Jayseonojg

PIOZ-E10e -TeeA JOCUIS
 

Case 4:15-cv-00054-AWA-RJK Document 196-7 Filed 03/26/19 Page 3 of 22 PagelD# 2626

 

SIIT- SoD

 

\ pIaWUUNs [RyepUOM F BARE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

\, 0000 Wd ¢ teen
\ O0O'T BD saouasqy Apery Oy
a & \ i TRHOVa “Zag Lav)
a 7 Aaa
wee (AA YSTASH AROMTAATA DIHEVED
fi 2-4 SVIOHOd NID LaYMaLs | _NGOd GN SSYAIO
SSVi> NISAVH OLaunsvald ¥Sl/70 | 4 ¥ Vole Ld Gave Slav ONVIAGY
" . oF S HIaaV2ria UNOd aONALOS
| 6 o YW WMAN Liniole BEAMHIONE
i; 2 8 ADT OZVTIO3 ° SHLVYA
Se CGoLL JV OA quassOu LSM SOILOEOR
wh ss ‘avi | Sav ita [| zs [#01 804 IS | 20 5 16 sUpeay aSINO} 3
[oz swogdewo po |
a np 5 é / qaLovard
BBPRID eel WIAD
qaoyaa’ qupvara
OD: Ko | | E10Z-ZI0Z seaA joouDs
CIOS TT eun[ uo payung preg poday
Cy TSOEZ WA “7eIsSAINOTS
gue] Nous 9699
Tooups arpply aseg
prep yoday

TVLINAGANOD " - spooyns seqng Ajunos rejseon0j5

 
15-cv-00054-AWA-RJK Document 196-7 Filed 03/26/19 Page 4 of 22 PagelD# 2627

Case 4

LTITL

qSOD

 

Ha Lovded,

os moc) 4s. sn 9 YA
08 scar Apeunes;
os on) fupemy 302

 

#1008 DOEIS

 

 

703

 

é

ALNFOO BEISERAOFS- Shr
SH HELSFONOTS - 0920

OSORELZICL Us
BIWEE epued>
ses. VO

 

 

LE sepeip

"B NIAVS “WINRED

 

pene (TTY CR.

 

S202 PARTS

 

 

 

é

osomelzion. «us
emulag epues:
fest TELS sang

 

 

"A NIAWS (ANRID

 

 

 

COV, Vengo dAsed

ros 010g} Suquaa tos

TLE

 

M055 POIEDS

 

 

 

i

 

 

RIMg PES 7] SUELO ey

 

inal

 

 

9$62z-sloe Bugusa
AINROO SSUSEoRO IS ~ 380
SH HSLSEOo%D + ORS

Li Tapeip

OsORtUZi0} 1s
sree 29RD
£66

“S_NIAYD “AHS

ovama 22

 

poz Bunds

ALND HUSSINOI= 920

SH BEISSONO7S ~ oz

Spe

 

 

 

 

AunoD saysaono}9

GILIVaMs

5661 daLovaaa

dgLOvVaTa *

Someeizigt mS
area, ZanwWD
5vaTI——9
NRHYS

 

 

 
Case 4:15-cv-00054-AWA-RJK Document 196-7 Filed 03/26/19 Page 5 of 22 PagelD# 2628

 

CONFIDENTIAL
___ RORORSICE USE ONLY
BUIAGN TOT a acurnue
1 TEKity a
{tingy Code, BR Code, PM Bien

 

        
     
   
    
 
  
  
 

WELLOMETO .
GLOUCESTER COUNTY PUBLIC SCHOOLS

Student Repletrati¢n Fotmn

 

rahe AEA

 

 

eee

Setar Nami Bethel El

 

 

 

 

Dabigel cioteliles Bethgl Boon fr Paswarth TC Waker ibe Miadie i; - tantierhtode t High Sehodl

Sivden(’s Legal Name: ry. Sagat eac ng yap inns RE D AC TED

Genter: Le Sits ‘7 Peinale

 

Bindi s iintéliys sf iabwnpants aii Wnapeoition

 

 

REDACTED.
Sindent’s ixth 6 oo. B ane spenenatoaneine
Haden’ sGivide Level, Thindergaties, ais sonia havetny. ate ato {. ei th

Wyes, ploasasprovide belo Uepoeiplow (ie, Rome dhiveice piovider, eich
Peinanry Iaiguige poker hy study ¥7 oe 1 Bp Atench tin tH tiie Oe
Pidvnavy lnhpainge spoken at tuition detest me ee ~~

Students Malling Adieien, 'REDA C T ED -

Btaiten! Es Store Pinas Ning

Student's 941 Addeessrequired. . in a ; sqaure
iF different than aallingh: Reiner ~~ ‘Seer Nahe 7 ay

Bove your bila marrenly recelogapecial sirviens?: CFYES 8° NO Byes. qilousocchbaleall that apply:
fl ore F Bp Buedtion f CESOd 1: Gite} tt Sh t P-ceenpatnnt Phesapy!thysiea ‘Ter

 

    
 
 
    
  
 
 
     

py Biker. seis

th

 
 

 

tenis. “SaaS

rh f Sueoiher ui oy an Cuncdiin fi Ms

 

| aise

 

 

 

 

 

. iheiiress (iCinitareiit Pa EN .
mnsaEDACTED soa | Wark Phone | “ _ - o |

 

 

     
    

 

CRN OE Ts aypamammpananic rece wnininatins LSeMPHONeH.,..._ oll Rally yes je A

 

 

 

 

 

 

Coiet Persons

Contact Peed,

 

 

GCSB - 1151

 

 
Case 4:15-cv- 00054- “AWA- RJK Document 196-7 Filed 03/26/19 Page 6 of 22 PagelD# 2629

CONEIDENTIAL,

REDACTED;
STUDENT REGISTRATION RORM (on tiniedy

New Federal iegisIntion, the No Child Lett Behind sat, eaguires: thitall schnat Divisions weport student
indipemation regarding the-arens listed ndlow. Please. rend gach dtatemintd, or have. the eeierar cobihiin
‘phatenreerts be Boe iy and anewér enck quigstion ag recnested,

t 5
1 Jadevepndordoudieduptaserdat : ame

   

Honw ot ftutent

ston)

 

 

| fe etiler to be eligible to he ceunted ag ingletedlalingut iit age 5: ihoeigh 1? eat ives on Sotinaiga
| for neplested children. aad: “youth,” whidhagdais i piiblio ary privaid residontial-faollity, otter ten 6 Rater lors, fiat
“ Reaperated primarily for the cate of-children ahd youthwhs ‘dei have been conintitted tethe ination se
wolantnily placed ti Lhe iitinition bier applicdbls Sale law doe w-abandonment, negleel, or death of their
| WiTelits ay gudirdinns; and 8) have Hout an avenge lenigtte ‘Of stay in the, ination otal ieget 20 slaye
+ OR
Musvlive inan“inadtinton for delinguénichitdreh aid youth,” which meanea, patie Orprvate renidentiit facility
Ant deiperated fae the dane of children and youth wha (1) have bean -ailfirdicaned. to be delingiiont or ta need af
| aupeiision and th). have had anaverage length of slay ) ths ingtjtution of ay donee 30 days.

   

 

 

} ts your'child Neghooted/Deliigquant? “Wey.

 

 

 

+2) Shares aio ss housing of-gthars dys. tatoos af houstag, eeonnils. — Giehntar rtasony: » 4
2) Dives.in snotels;Hiotel ifalles' yyy ke Sreampiig grounds due wack of alternative aden nobinklg lonanicd
3B) Lived ia eaeeapieiny rain Sholteis;
4) Abandoned tis hospital

$) Awaits pater aate placement;
8) Has-a piiiary sesidence tibtas 9 pbtle place ort place not designed for oe ondihiarl iy Mised aa regiliir
-{  meceentiodation;
7) fAvesin cars, parks, publig apace nbanciosied, ‘banlgibes, subarandand Joong ‘aya wir tdaie stations or alata
settings. 3

    

 

 

Js your child Horneless? Yes Bp; whickttem abovenpplien teyourdtication?

 

ae.

 

 

“

Thederin “phiyrniory ohile” vines a shld whi ti r-vPhose. faretit ae: apis A aeipiataty agricul ditt aide,

inchiding atnigiatory-dairy wate; o7 5 inigedibry lishsr,anid who, ithe preceding 36 mollis, dn arder te: obtain,
draceotnpany suck paient orspoude; in wrder to Hbthia toniporany dr sedeon sinploymetit in Sarleuttaral or fishing:
works

&) fee-nieved trom die dchowl diiniet 6 anther:

| fb) to obras that leconiprisdl ofa Aeadle school disielét, few moved from one admifistiative-aiea to aanther well iin
such district: nF

1 fo) aoeidos ina bois! Bérrict of mote tian 15.0004 equate’ iailes, gard thigtates wdistanotot a0 Tales orviiore iG é
t © depporary wesideriog te sngaigeiné Hiehing HOVIEN: Z

 

 

 

 

 

[Ss your chitd 4 Migraiory CHiN? a

 

 

GCSB - 1152

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Filed 03/26/19.

|
|
|

 
Case 4:15-cv-00054-AWA-RJK Document 196-7 Filed 03/26/19 Page 12 of 22 PagelD# 2635

     

oe

 

 
 

 

 

 

 

 

 

 

 

GCER ~117E

 
Case 4:15-cv-00054-AWA-RJK Document 196-7 Filed 03/26/19 Page 14 of 22 PagelD# 2637

er

Wherags the G¢PSvecdgtilzes Hiatwomi students quagiion dial yundar identities, and

Wheradsithe SCPs encouragos:stich gkucints-to seek suppor wind ieee thsi heredity, preitesslonsls
wii other tuted adults, and

WhersastheGope socks td priivijianshte leorehrandonenant feral oudientioind ta ppiducttie
pelvacy ofall students, chanafurs.

Inatit he the pinictioe of the GCPSito granlie male an tomate neathobeh ait locker toometeclties tnt
Schools, avid Slitetese OF ted Facto shall he: ified ts the. conteiiotidihy Mhdtotoal Bandsha,and
Students With aloans elrker iden ley ste shall be pal sn altars peur fay

tie aah ee ela

Sot OK een tenet

SN AN Oe

ovr

 

tf :

GCSB - 1277

 

 
Case 4:15-cv-00054-AWA-RJK Document 196-7 Filed 03/26/19 Page 15 of 22 PagelD# 2638

From:

Date: December 08, 2014 3:01:13 PM

To: "georgeburak@cox.net" <georgeburak@cox.net>; "kevinsmith914@gmail.com"
<kevinsmith914@gmail.com>; "troyandersengp@cox.net" <troyandersengp@cox,net>;
"kimberiyehensley@gmall.com" <kimberlyehensley@gmail.com>; "hookc@cox,net"
<hooke@cox.net>; "anita. parker@ige ki2.va.us” <anita. parker@ge.k12,va.us>;
“chalres. record@ge.ki2.va.us" <chalres.record@gc.k12.va.us>;
"SchoolBoard@gc,k12.va.us" <SchoolBoard@gc.k12.va.us>

Subject: Transgender Student Policy

Attachments:

Members of the School Board:

I have been following the story of the transgender student and the request to use
male facilities. I respectfully ask that you act to protect the rights and privac
y of students who are not transgender. I was greatly disturbed that the decision
was made by the Gloucester High School prinoipal to allow the transgender student
to utilize male bathrooms. I have a son who attends REDACTED School, and e¢
annot imagine how he would feel 1f a transgender student began to utilize the boys
restroom. All students, not just one, should have their privacy upheld. Regardl
ess of how a student "identifies" them self, reasonable accommodations were made a
liowing the student te utilize the nurse's restroom. Please act on behalf of the
entire student population, net just one student. This 16 net a discrimination igs
ue, it is a privacy issue,

Thank you for your service to Gloucester citizens.

Sincerely,

REDACTED:

Sent from my iPhone=

GCSB - 02630

 

 
Case 4:15-cv-00054-AWA-RJK Document 196-7 Filed 03/26/19 Page 16 of 22 PagelD# 2639

  

From: "Amy Bergh" <abergh@gc.k12.va.us>
Date: October 28, 2014 7:18:05 PM

To: "Nate Collins” <ncollins@gc.kl2.va.us>
Subject: Gavin and Hi

Attachments:

Today at the end of B4 Gavin Grimm na stood up and began yelling at each other across their tables. They
were mutually clearly ready to physically fight. As near as | coud tell it had something to do with Gavin using the boys
restroom today. Both students were visibly upset and cursing at each other stating they didn’t have to put up

*“fucking shit’ and other similar comments, | don’t remember exact comments but something to the effect tha

didn’t believe that Gavin should use the boys room because he we a girl and Gavin stating that he didn’t have to put up
with people saying negative things. They were equa! partners in escalating the situation.

| yelled at them to stop several times and then sent Gavin to Clark Barkley’s class to wait for me and took Bate my
office hallway,

|asked MME what had happened. He stated that he had anger issues, He said something to the effect that he had asked
Gavin's brother about seeing his sister golng Into the boys restroom. Bzeegswore he did not know that Gavin was
transgender,

] then asked Gavin what had happened ahd Gavin said talline all about it and was just saying things to upset
him,

Other students sitting around them include;
NJROTC student and probably reliable

| ee
ER Probably reliable

a NOT reliable

  

-Amy Bergh

GCSE - 03541

 

 
Cas¢, 4.15-cv-00054-AWA-RJK Document 196-7 Filed 03/26/19 Page 17 of 22 PagelD# 2640
cunt Page 1 of 2

Subject: Interesting also ~- Bold lettering is mine not theirs
From: REDACTED
To: crecords@zandler-dev.com;

Date: Juesday, December 9, 2014 12:48 PM

This is direct from an ACLU website! ~ Let me know if you want me to get the whole article to
you.

“Bathroom and Locker Room Issues

Many LGBTQIA students find bathrooms and locker rooms a war zone fraught with anti-LGBTQIA
slurs and physical abuse. If you are having difficulties using the restroom or locker room, report the
troublemakers to your school administrator and request an increase in security in the problematic
areas reminding them you are the tatget, are not breaking any school rules, and this behavior is
creating an unsafe learning environment. Although students have @ie legal right to access
bathrooms and Jocker rooms, some school administrators seek alternatives to providing

increased sceurity. As a resuli, some school administrations offer LGRIQIA students the use of
the employee single stall restroom, “

Resource

“ACLU; Transgender resourses

(back to top)”

Odd ACLU calls it “bathroom” - but notice you have already done what ACLU says about making
an appropriate accommodation —- the nurse’s rest room. i.e, to avoid harassment

https://us-mg6.mailyahoo.com/neo/launch? rand=86a9ksioe5 515 7/20/2016
GCSB - 04165

 
Casq,4:15-cv-00054-AWA-RJK Document 196-7 Filed 03/26/19 Page 18 of Ae Pagelbi 2641
rLert age

This is why they offer the accommodation to single stall rest room.

School Harassment

Schools are legally obligated to provide a safe school environment to all students, Students can’t
learn if they worry about taunts, name-calling, or physical violence by their classmates or teachers.
Most school administrators and teachers will help students whe are being teased or bullied, but you
nrust first tell them of the harassment. Ifyou feel uncomfortable talking to school officials alone, there
are other possibilities. You may e-mail school officials, for example. Also, Safe Schools NC board
members are willing to go with you or speak for you. School administrators are legally obligated to
protect students. If you feel that your requests for help are being ignored, there are organizations,
such as the American Civil Liberties Union (ACLU) of North Carolina or Lambda Legal Defense, that
can back you up in court.

ISSUES ACKNOWLEDGED BY ACLU

SAFE SCHOOL ENVIRONMENT
TAUNTS, NAME —CALLING, PHYSICAL VIOLENCE

HARASSMENT

hitos://us-mg6.mail.yahoo.com/neo/launch?,rand=86a9ksioe5 515 7/20/2016
GCSB - 04166

 
Case 4:15-cv-00054-AWA-RJK Document 196-7 Filed 03/26/19 Page 19 of 22 PagelD# 2642

November 13, 2014

Dear Gloucester County School Board Members,

; 1 ,,, REDACTED .. . ‘
Our family is writing to you in regard to AC and the media attention the Grimm family is

seeking to further their cause. We have signed a petition presented to us and feel the need to voice our
concerns to you ia writing,

We are tolerant people who accept that every individual has the right to live their own life. Working for
REDACTED for 30 years and supporting “gay rights” long before it was popular is the example our
grandmother set. She encouraged her children and grandchildren to do the same, ”.. . REDACTED
REDACTED We are the family that provides a sale place
and listening ears for other teens who are either not ready to come out to their families or who are rejected

by their families due to their choices.

Quite frankly, Gloucester High seems to have a disproportionately largé number of students who identify
themselves as lesbian, gay, and bisexual, Transgender is not as widely seon as of yet. The issue at hand
should not be viewed as an attack on oue child, as bullying, or as discrimination. The decision regarding
any transgender student using the restroom they assign to themselves should be considered based on the
needs and privacy of ALL STUDENTS in the school, REDACTED jg not an anonymous person in a
mall or theme park that just walks into a restroom of his/her choice.

! REDACTED

_ REDACTED It is unfair to-our children and our community for the Grimms to attempt to turn a

privacy and safety issue into an act of bullying t6 gain additional attention. The request to be allowed in
‘the man’s bathroom should be examined separately from any claims of bullying.

We did not know that you were considering allowing an individual with female anatomy in the school’s
men’s bathrooms until out sons who attend the school came home and told us. Our boys, gay or straight,
are mortified by the idea that any female, including their mother or sister, would bé in a bathtoom ‘with
them while they are using it. Our daughter is concerned that a decision to allow Gavin Grimm into the
men’s restrooms will lead to a male student assigning himself as a female. and being allowed in the
women’s restrooms. Furthetmore, the men’s restrooms do not all have working stall doors and urinal
dividers or proper trash receptacles for soiled female items. REDACTED js physically a girl with female
anatomy who wants to be allowed to use a men’s bathroom in a public school, REDACTED has been
known to Gloucester High’s students as a girl for a long time and is making many students
uncomfortable.

ep ACTeD should have a safe place to use the restroom. Gloucester High is a very large building so

+ Should hitve access to more than one restroom; however, it should NOT be in the men’s restrooms,
The nurse’ s office is the universally accepted alternative for students with many different needs. We fool
strongly that Gavin, as well as any other student who chooses to, should also have acoess to a second
bathroom within the school, but not the men’s restrooms. Surely there is a place somewhere in the
school that cait be remodeled to include two te three stalls and desigivated as a unisex bathroom and
used by anyone who feels the need. Alternatively, if you cannot put the rights of the whole population
ahead of the rights of one student, the least you can do is designate no less than half af the school’s
bathrooms as “mate only’ and “female only” so that the student body retains its rights as well.

GCSB - 04189

 
Case 4:15-cv-00054-AWA-RJK Document 196-7 Filed 03/26/19 Page 20 of 22 PagelD# 2643

Safety should algo be a concern, especially if we all accept the Grimm family’s statements that eee ig
being bullied by Gloucester’s school system and residents, Unfortunately, there is going to be someone
who feels threatened or wants: 40 leave the bathroom go they have the privacy to use it, There are
alteady incidents of bullying that occur in isofated and anmonitored areas of the school, How long will it
be until there is a problem? Is the school able to provide a security person or staff member to monitor any
restroom that Gavin may choose to use?

‘This is an issue that is dividing our school and our community. Please consider the rights of ALL of the
students in Gloucestet’s schools as you make this decision.

Sincerely,

A Concerned Family*

‘Name withheld due to our relationship with this family and involvement in the Gloucester community.

GCSB - 04190

 
Case 4:15-cv-00054-AWA-RJK Document 196-7 Filed 03/26/19 Page 21 of 22 PagelD# 2644

Ou] cerca corn cord toma ones roa rsa cora cosa [st

jb * 7 ip eats nts

 

eraieen’ te

_ VERIFY PRESEN

gti

aft
, REDACTED FR : f

Oh EGISTHANT: = a ‘ : _ 4 "

i | Redacted a * oa

AE aay F i . i i , : 4 . : '

: #ENNOVLV ANIA
cy "ahs

. te 3 . a
: Gotrgok reprediihori sor abstial tr ahe-ol Lola Hodeblad VAN). ia Vig
: he : . . . wl

; - Bligh, Hidinayy Statiy Hogi
{6 Seal of Vigiag Dear Umea Ol Haat, Mitel, These emai. . 1
it wend WO

oy

 

ot
| SSR ce army hr iy gree ees amd ola same Sang pene vt he are yoo Ape se BM gears nee en te : J

ont Loe sa meee wal ted ween ae von Some hee Fa on Sent tees ate | Aaa aot ave apes Kony hotest ene snl. Baas ann contest L. Tone ste rt F lL. ven ste al ws ‘}
soe . wots ald m'ebeeane . : a a ny . . aif *

 

‘GCSB - 04247,

 

 
Case 4:15-cv-00054-AWA-RJK Document 196-7 Filed 03/26/19 Page 22 of 22 PagelD# 2645

Date:12/16/2014 9:42 AM (GMT-05:00)

To: "Dr. Walter R. Clemons" <weclemons@gc.,k] 2,va,us>

Subject: Re: RR

Just left high school. Rastroom floors were painted things look pretty good. Custadians are
venting oul and putting in new celling tiles. Nate |s playing It by ear he may open teday or tomorow
moming, The hall bathroom is open.

Sent from my iPhone

On Dec 15, 2014, at 5:05 PM, Dr. Walter R, Clemons <wclemons@gc.k1 2.va.us> wrote:

Thanks!

Sent from my Verizon Wireless 4G LTE smartphone

-—----- Original message ----—

From: John Hutchinson <hutch@gc.k12.va.us>

Date: 12/15/2014 4:25 PM (GMT-05:00)

Ta: "Dr. Walter R. Clemons" <wclamons@gc.k12.vo.us>
Subject: Re: RR

Just talked with Nate. The restrooms are/were ready to open. The signs that didn't anive
were to indicate knock before entering and lock door behind you.

The unisex signs have been posted fora week, but were covered, There are some minor
touch ups to be done, but nothing to stop the bathrooms and being open.

"Nate wil open the bathrooms tomorrow and put paper signs up until the official signs
regarding énitering and locking door arrive,
ll touch base with Nate tomarrow a.m.

Sent from my iPhone

On Dec 15, 2014, at 3:43 PM, Dr. Walter R. Clemons <wclemons@gc.k12,va.us> wrote:

Give me an update on the signs. Thanks!

Sent from my Verizon Wireless 4G LTE smartphone
2

GCSB - 04286

 

 
